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                                                                                        FILED
                                                                                       AUG 1 6 2022
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA                                      CLERK
                                                                                        U.S. DISTRICT COURT
                                  NORTHERN DIVISION                                     MIDDLE DI T.     I




UNITED STATES OF AMERICA                          )

         V.
                                                  )
                                                  )
                                                  )
                                                      CR. NO.   a: ~cf d33~l2-l\\--\ - tfv
                                                                [18 U.S.C. § 922(a)(6);
AMBER NICOLE BU CHA AN and                        )              18 U.S.C. § 922(g)(l);
NORRIS FITZGERALD MULLINS, JR.                    )              18 U.S.C. § 922(i);
                                                  )              18 U.S.C. § 922(u)]
                                                  )
                                                  )   INDICTMENT


The Grand Jury charges:

                                           COUNTl
                              (False Statement to a Firearms Dealer)

       On or about August 6, 2021 , in Pike County, within the Middle District of Alabama, the

defendant,

                                AMBER NICOLE BUCHANAN,

in connection with the acquisition of a firearm, to wit: a Ruger, model LCP II, .380 caliber pistol,

from Premier Select Group LLC, doing business as Family Firearms, a licensed dealer of firearms

within the meaning of Chapter 44, Title 18, United States Code, knowingly furnished and exhibited

a false, fictitious, and misrepresented identification, and knowingly made a fal se and fictitious

written statement to an employee of Family Firearms, which statement was intended and likely to

deceive said employee of Family Firearms, as to a fact material to the lawfulness of such sale of

the said firearm to the defendant under Chapter 44 of Title 18, in that the defendant represented

that she was not a convicted felon, in violation of Title 18, United States Code, Sections 922(a)(6)

and 924(a)(2).
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                                            COUNT2
                         (Possession of a Firearm by a Convicted Felon)

       On or about August 6, 2021, in Pike County, within the Middle District of Alabama, the

defendant,

                                  AMBER       !COLE BUCHANA ,

knowing she had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, to wit: a Ruger, model LCP II, .380 caliber

pistol, and the firearm was in and affecting interstate and foreign commerce, in violation of Title

18, United States Code, Section 922(g)(l ).

                                            COUNT3
                         (Possession of a Firearm by a Convicted Felon)

       On or about August 6, 2021 , in Pike County, within the Middle District of Alabama, the

defendant,

                            NORRIS FITZGERALD MULLINS , JR. ,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm, to wit: a Glock, model 43X, 9mm pistol, and

the firearm was in and affecting interstate and foreign commerce, in violation of Title 18, United

States Code, Section 922(g)(l).

                                             COUNT4
                                  (Possession of a Stolen Firearm)

       On or about August 6, 2021 , in Pike County, within the Middle District of Alabama, the

defendant,

                            NORRIS FITZGERALD MULLINS , JR. ,

knowingly and intentionally possessed a stolen firearm, knowing and having reasonable cause to

believe the firearm was stolen, to wit: a Glock, model 43X, 9mm pistol, and the firearm had been

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shipped and transported in interstate and foreign commerce, in violation of Title 18, United States

Code, Section 922(j).

                                           COUNTS
                  (Unlawful Taking of Firearm from Federal Firearms Licensee)

        On or about August 6, 2021 , in Pike County, within the Middle District of Alabama, the

defendant,

                             NORRIS FITZGERALD MULLINS , JR. ,

stole, unlawfully took, and unlawfully can-ied away, from the business inventory of a person who

was licensed to engage in the business of dealing in firearms , to wit: Premier Select Group LLC,

doing business as Family Firearms, a firearm that had been shipped and transported in interstate

and foreign commerce, to wit: a Glock, model 43X, 9mm pistol, in violation of Title 18, United

States Code, Section 922(u).

                                   FORFEITURE ALLEGATION

       A.      The allegations contained in Counts 1-5 of this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18, United States

Code, Section 924( d)(l) by Title 28 , United States Code, Section 2461 (c).

       B.      Upon conviction of the offenses in violation of Title 18, United States Code,

Section 922(a)(6), (g)(l), (j) , or (u) set forth in Counts 1-5 of this Indictment, the defendants,

                              AMBER NICOLE BUCHANAN and
                             NORRIS FITZGERALD MULLINS , JR. ,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924( d)(l) by

Title 28 , United States Code, Section 2461(c), any firearms and ammunition involved in the

commission of the offenses in violation of Title 18, United States Code, Section 922(a)(6), (g)(l),

(j), or (u). The property includes, but is not limited to, a Glock, model 43X, 9mm pistol, bearing



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serial number BSST813; a Ruger, model LCP II, .380 caliber pistol, bearing serial number

380659094; and live ammunition.

        C.     If any of the property described in this forfeiture allegation, as a result of any act or

omission of the defendant:

               (1) cannot be located upon the exercise of due diligence;

               (2) has been transferred or sold to, or deposited with, a third party;

               (3) has been placed beyond the jurisdiction of the court;

               (4) has been substantially diminished in value; or

               (5) has been commingled with other property which cannot be divided without

               difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21 , United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c) .

       All pursuant to Title 18, United States Code, Section 924(d)(l) by Title 28 , United States

Code, Section 2461(c).

                                                               A TRUE BILL:



                                                               Foreperson

SANDRA J. STEWART
UNITED STATES ATT




Mark E. Andreu
Assistant United States Attorney


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Eric M. Counts
Assistant United States Attorney


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